
Brady, J.
This action was brought by the plaintiff’s upon a bond of indemnity executed by the defendant and one Michael S. Purcell (since deceased) to the plaintiff’s assignor, James O’Brien, then sheriff of the city and county of Hew York. The case is here for the second time on appeal, and several of the questions which are now presented are kindred to those already passed upon on the first appeal, the result of which is reported in 31 Hun (p. 267). It is not at all improbable that a consideration of all the other exceptions in the case would result favorably to the respondents, but it is not deemed necessary or advisable to consider them for the reason that one exception appears to be fatal to the maintenance of the judgment. The bond is in the usual form of a bond of indemnity, and provides for protection to the sheriff and all persons assisting him from any damages that might accrue to him or them for levying, attaching and making sale under and by virtue of the execution, of all or any personal property which he or they should or might judge belonged to the judgment debtor named.
The defendant’s counsel requested the court to charge that if neither the sheriff nor any of his deputies judged the property taken under the execution in reference to which the indemnity applied was owned by the judgment debtor, then the defendant was entitled to a verdict. The. court refused so to charge, and an exception was duly taken. What was said on that subject, if anything otherwise, does not appear, inasmuch as the charge is not given in the record. As said in the case of Clark, agt. Woodruff (83 W. Y., 525) “it is never the purpose of these indemnities to make the obligors responsible for trespass which they do not direct or authorize. We should not yield to such a construction. The mischiefs resulting would be very great, not only to the parties and to the public, but to the officers themselves.” And in the same case in the supreme court (18 Hun, 423) it was said: “ It can hardly be supposed that the parties who executed the bond intended to create a roving commission by which the *463plaintiff would be at liberty to seize by way of experiment, any property which he might even judge to belong to others, and rely upon such bond for protection against loss.”
The. refusal of the judge to charge the proposition stated, necessarily results in a diclaration of a converse proposition, namely, that the defendant would be responsible, if property should be taken by the sheriff which neither he nor his deputies judged to be the property of the judgment debtor, and thus would sanction the seizure of property in the language of Clark agt. Woodruff (supra) by way of experiment. The mere fact of the levy is not to be construed, when an issue is created in regard to it, as the exercise of judgment or an act • in conformity to the bond. A jury may be called uppn to determine whether the levy was made within the spirit of the bond itself which was designed to secure the appropriation of the property of the debtor, if, in the judgment of the officer intrusted with the execution of the process, it was proper to, levy upon and thus to secure its appropriation to the payment of the judgment.
It is no answer to this proposition that there was no conflicting evidence on the subject of the levy. It may be said that except from the mere act of levying there is no evidence that the property was judged to belong to the judgment debtor by the persons who made the levy. At all events, as already suggested, the defendant was entitled to a submission of the question to the jury, and which was rejected as we have seen, whether the act of the sheriff upon which his liability rested was done in conformity to the bond.
Tor these reasons the judgment should be reversed and a new trial ordered.
Daniels, J., concurred.
